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   2014753526
   2014883861
   2017912699
   2018186611
   2018649168
   2018969190
   2019458168
   2024839512
   2028827104
   2032484896
   2032628206
   2032653987
   2032691466
   2033898249
   2037432325
   2037539042
   2037779851
   2044443931
   2047836416
   2052521586
   2053239060
   2053495747
   2053845283
   2054874958
   2057592252
   2059459258
   2059563088
   2059563922
   2059795533
   2062845243
   2063222126
   2064323977
   2065751248
   2066232173
   2067288806
   2067625546
   2067631948
   2067634232
   2067649487
   2067676772
   2067678294
   2067824181
   2072535528
   2075966923
   2077950229
   2078783251
   2079476752

                                                                    EE 000001
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   2083432673
   2083757007
   2084552831
   2084596586
   2084674757
   2085290135
   2085295456
   2087651818
   2088352332
   2094674810
   2095265473
   2095502510
   2102245250
   2102268228
   2102280377
   2103660723
   2104773090
   2105211333
   2105332281
   2105583209
   2106500039
   2106556727
   2106621604
   2107326147
   2107357421
   2107361860
   2109462473
   2122686952
   2124817423
   2127502053
   2128090141
   2129258998
   2129889192
   2143243737
   2147414777
   2147475292
   2147487340
   2152894403
   2152953082
   2153579193
   2153867550
   2154409786
   2154421328
   2154826863
   2156245038
   2156271604
   2156272034

                                                                    EE 000002
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   2156594384
   2156739360
   2158268006
   2163624020
   2163986121
   2165250051
   2166428779
   2168812566
   2168838952
   2173422898
   2173523505
   2176989179
   2186240261
   2187227842
   2196631066
   2196967793
   2198746080
   2199221849
   2199471099
   2252621578
   2252734512
   2253551855
   2257524824
   2257563180
   2259247700
   2259273335
   2288751627
   2292450579
   2293821034
   2293880386
   2396436554
   2404871941
   2404921529
   2483072571
   2483983156
   2485400958
   2485413490
   2485455557
   2485829033
   2485884616
   2485975004
   2486244770
   2514716967
   2516021100
   2516618970
   2516668403
   2519374657

                                                                    EE 000003
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   2519434979
   2532722323
   2534739667
   2535817827
   2538337521
   2538547954
   2538871148
   2539229709
   2539466143
   2545262337
   2547523799
   2563505809
   2568301182
   2568836531
   2604326051
   2604710501
   2604838082
   2604844485
   2604866958
   2625474973
   2625499410
   2626396670
   2693457929
   2704427151
   2706847709
   2708987957
   2708988498
   2763866615
   2765307315
   2812562722
   2812920911
   2813321780
   2813548895
   2814690915
   2814717690
   2814797043
   2815548893
   3013330864
   3013504026
   3013736394
   3013907929
   3014243080
   3015076205
   3016684454
   3017979029
   3019485265
   3019670218

                                                                    EE 000004
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   3026558971
   3029949176
   3032528770
   3032874227
   3032926529
   3032929743
   3033335008
   3033556572
   3035300344
   3035342410
   3035958878
   3036239483
   3036558143
   3036667458
   3037441229
   3037587563
   3037591390
   3042321599
   3042520481
   3043430715
   3043454746
   3045239004
   3047526084
   3052334935
   3052477142
   3052629828
   3052648430
   3053623125
   3055597441
   3055915653
   3055967222
   3056284143
   3056351213
   3056426503
   3056661015
   3056720301
   3057583469
   3057598669
   3069346155
   3073822985
   3073826752
   3075770569
   3075775842
   3078561434
   3094548701
   3097860126
   3102580213

                                                                    EE 000005
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   3103208844
   3103223627
   3103239251
   3103262638
   3103279174
   3105494911
   3108302447
   3108333186
   3109782795
   3127330009
   3133661728
   3133661855
   3133889677
   3138670033
   3139330440
   3142315481
   3142417723
   3144236377
   3144273502
   3144328024
   3146450878
   3147760054
   3148426811
   3149977420
   3149979183
   3154559522
   3154720855
   3154725022
   3157377347
   3157684807
   3162638100
   3162837538
   3166863151
   3168321375
   3172416867
   3172418544
   3172437297
   3172443920
   3172552917
   3172710345
   3173566382
   3176385624
   3177860044
   3178722077
   3178744266
   3179254166
   3182220724

                                                                    EE 000006
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   3182270013
   3183233410
   3183292988
   3183960083
   3186872711
   3188613821
   3192472893
   3193379619
   3193634653
   3193638389
   3193937533
   3193950003
   3193957027
   3197520537
   3197520796
   3197547977
   3202350981
   3202355351
   3202539109
   3202594727
   3202865302
   3212673799
   3217844776
   3232642309
   3236554291
   3237210596
   3237215064
   3237253930
   3237336031
   3239373912
   3256535086
   3303799900
   3304781424
   3304905794
   3305335235
   3306303320
   3307455011
   3307501009
   3307586028
   3307923687
   3308324246
   3342715226
   3344930955
   3346714544
   3346923704
   3348997378
   3362302435

                                                                    EE 000007
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   3362723567
   3362749989
   3362754565
   3362921027
   3362927162
   3362974195
   3363789819
   3365471909
   3365479339
   3366290959
   3366321008
   3366683463
   3366684878
   3366769271
   3367897149
   3368548004
   3368827912
   3369223318
   3372346478
   3373650548
   3374565259
   3374772425
   3378737062
   3523751408
   3525964403
   3526226704
   3526863868
   3527955015
   3604230476
   3604259324
   3604571269
   3605986166
   3606757292
   3607348765
   3607548331
   3607572681
   3612896339
   3615736575
   3618837365
   3862380973
   3863293555
   3867528328
   3867750379
   4014343778
   4014677799
   4017321550
   4018857879

                                                                    EE 000008
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   4019414451
   4023315666
   4023318356
   4023325958
   4023790258
   4023914176
   4023937928
   4024650296
   4024740141
   4024760049
   4024949992
   4025540743
   4025585553
   4025922003
   4025923768
   4027340227
   4037200446
   4039480395
   4042894947
   4043502359
   4043552012
   4046080362
   4048734581
   4048736911
   4052324722
   4052358667
   4052365595
   4056313153
   4056321434
   4056343637
   4057372366
   4057528360
   4059471934
   4059488226
   4062458916
   4062481121
   4062483741
   4062593956
   4064532482
   4065497067
   4065869736
   4066520717
   4067210067
   4067213412
   4067216426
   4067560420
   4068626280

                                                                    EE 000009
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    4072950258
    4072974310
    4074694391
    4076288919
    4076296761
    4076581510
    4078310653
    4078435504
    4078882257
    4078983362
    4079314340
    4084357928
    4089462426
    4089840162
    4098356009
    4098356763
    4099481329
    4102132790
    4103555302
    4104671019
    4107376764
    4107709664
    4107851103
    4107961248
    4107964492
    4108962506
    4109569039
    4109921494
    4109970463
    4122699168
    4122710279
    4123216002
    4123612855
    4126217169
    4126819185
    4127610190
    4128209134
    4128318168
    4135333560
    4135680066
    4137395476
    4144628231
    4144750353
    4144752858
    4145452185
    4146454287
    4147607707

                                                                     EE 000010
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    4147719118
    4147743653
    4154565482
    4154956161
    4156438096
    4156483838
    4158923351
    4159250857
    4167497224
    4177814849
    4178651136
    4178691734
    4178696678
    4188773958
    4192439696
    4192447581
    4193558557
    4193895156
    4194723053
    4194727654
    4195223568
    4196369222
    4196982540
    4197294337
    4198689084
    4198823426
    4198933553
    4198938313
    4232456405
    4232476394
    4232652349
    4232790846
    4233326868
    4234991107
    4236290125
    4236980835
    4253795897
    4254546735
    4254548673
    4257424848
    4323370181
    4323630132
    4323812521
    4325639397
    4344476740
    4345255226
    4347925672

                                                                     EE 000011
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    4347979805
    4348478812
    4357537429
    4402058366
    4402446810
    4402566263
    4403654956
    4404734842
    4408843430
    4409534529
    4409740500
    4435432235
    4783281374
    4794420342
    4796480046
    4796490909
    4797823087
    4799270303
    4799673944
    4805072566
    4806334719
    4809459986
    4809638789
    4809641071
    4809684276
    5013750706
    5013757156
    5015626461
    5017246659
    5017605055
    5022674312
    5023803829
    5024916543
    5025894276
    5026341931
    5026350712
    5026356470
    5026360798
    5028975793
    5029663910
    5029695619
    5032230666
    5032312521
    5032329821
    5032340748
    5032558082
    5032952966

                                                                     EE 000012
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    5035888225
    5035987320
    5036201763
    5036267231
    5036466557
    5036906688
    5036909515
    5036936080
    5037785518
    5042076046
    5043494792
    5043664533
    5044362599
    5044672677
    5044867482
    5047341321
    5052927134
    5053261620
    5053265624
    5053270659
    5053420556
    5058813546
    5058848093
    5072813879
    5073881279
    5082912544
    5083396921
    5085433914
    5086771300
    5088650542
    5088701697
    5092484850
    5095343139
    5095343752
    5095354565
    5095354799
    5095357680
    5095358544
    5095474559
    5095760372
    5096850139
    5104987901
    5106527081
    5106586594
    5106615706
    5107821422
    5107833764

                                                                     EE 000013
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    5122441846
    5122597073
    5123763330
    5124442825
    5124446766
    5124470102
    5124480267
    5124597469
    5132320088
    5133670363
    5135310135
    5136746469
    5137323466
    5137720654
    5137721066
    5137728044
    5138213353
    5138519017
    5143760657
    5143849031
    5152436640
    5152442164
    5152446366
    5152539584
    5152652441
    5152743725
    5152768700
    5152769434
    5152793305
    5152877805
    5152883733
    5159658165
    5162220987
    5162943969
    5165695305
    5167393205
    5167830037
    5173714605
    5177504737
    5182972114
    5184626413
    5187534496
    5187854643
    5188691388
    5194514815
    5196526586
    5207452500

                                                                     EE 000014
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    5207959442
    5208820692
    5302464371
    5302721523
    5304777316
    5306660658
    5307811325
    5308914025
    5403426404
    5403429808
    5403446153
    5403458227
    5403899937
    5406622970
    5407269518
    5408860155
    5413024529
    5413178384
    5413441513
    5413890778
    5413894856
    5414616729
    5414618865
    5414791907
    5414850211
    5414857867
    5416890242
    5417476738
    5417478288
    5417720471
    5417722241
    5418896257
    5419235431
    5419674342
    5419883502
    5592372441
    5592378879
    5592557492
    5592682361
    5592688315
    5594859907
    5596515068
    5597327393
    5597330433
    5612729681
    5615331514
    5615406005

                                                                     EE 000015
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    5615853715
    5616849578
    5616891644
    5618450255
    5618456749
    5626088802
    5626334290
    5626939521
    5627908230
    5627990624
    5629080090
    5629460014
    5632851660
    5633558333
    5703218207
    5706446508
    5708394073
    5733228201
    5733245260
    5733397090
    5736864874
    5742629953
    5742643465
    5742932254
    5745331511
    5749355162
    5807627610
    5852350229
    5852541839
    5852545159
    5853254465
    5854270887
    5855462979
    5855864327
    5862935210
    5864692826
    5867313509
    5867580589
    5867582079
    5867711072
    5867763529
    5869776518
    6012645146
    6013535331
    6013558770
    6014833475
    6015823374

                                                                     EE 000016
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    6016836570
    6022324100
    6022547100
    6022586815
    6022757582
    6023231942
    6023232810
    6024372200
    6024378862
    6024379143
    6025890104
    6029563787
    6029579754
    6032252010
    6033323758
    6033826482
    6035282503
    6036260118
    6036660115
    6037436366
    6038892849
    6043030134
    6045300899
    6048796974
    6049408614
    6052258169
    6053320228
    6053320988
    6056279291
    6065737466
    6065740452
    6077328061
    6082552300
    6082556977
    6082715152
    6082757170
    6084411952
    6087543257
    6095848882
    6096412222
    6096451535
    6096453890
    6102581230
    6102643094
    6102665775
    6102727305
    6103532512

                                                                     EE 000017
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    6104369072
    6104588438
    6105624642
    6106306785
    6106309805
    6107892437
    6108746372
    6108893837
    6109213830
    6126271310
    6126271313
    6127223415
    6128227716
    6128711845
    6142216246
    6142285445
    6142368122
    6142376387
    6144812112
    6145018828
    6148667747
    6148953187
    6152262488
    6152424702
    6152428336
    6152543443
    6152548229
    6152560444
    6152568020
    6152593896
    6153200498
    6153201057
    6153520418
    6154590656
    6154595995
    6155635122
    6158340921
    6158834236
    6158896773
    6162414786
    6162437751
    6162470086
    6162610432
    6164512728
    6164514407
    6164582554
    6167352252

                                                                     EE 000018
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    6167918997
    6169578927
    6173870077
    6173896823
    6174793341
    6176251650
    6182424679
    6182595134
    6184516940
    6186640772
    6188338823
    6192207178
    6192345937
    6192602606
    6192629985
    6192769199
    6194747413
    6204314841
    6204422566
    6239370408
    6239391486
    6262893100
    6263317508
    6302272039
    6304437256
    6305299087
    6305307935
    6306287978
    6307664166
    6308511774
    6308519855
    6308523678
    6308899262
    6312495886
    6312712148
    6312777513
    6314678249
    6315638928
    6315678882
    6315850334
    6315877283
    6316614085
    6317375682
    6362394178
    6362786085
    6362941567
    6362960844

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    6363430609
    6365301316
    6365322378
    6368874667
    6369400691
    6417527475
    6503421026
    6505834006
    6505888842
    6514821495
    6516468610
    6608264597
    6612814008
    6613241231
    6613241605
    6613270689
    6613275069
    6613935636
    6618241006
    6619400359
    6619487310
    7012245834
    7012329446
    7012581292
    7012826083
    7016630223
    7018392253
    7022229122
    7023829866
    7024335403
    7026335960
    7026421006
    7027348330
    7028896030
    7028976500
    7032571563
    7033693786
    7033851758
    7034214900
    7035251637
    7036310175
    7036836719
    7036857241
    7038020727
    7043470596
    7043740029
    7044358816

                                                                     EE 000020
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    7044428242
    7044820904
    7044833529
    7045043782
    7045252319
    7045253947
    7045357929
    7047952152
    7047955560
    7049270176
    7062260818
    7062369028
    7062530254
    7067711982
    7067906270
    7072077230
    7074310461
    7075759448
    7075859734
    7078261851
    7083858664
    7084427871
    7085479059
    7085965802
    7086811900
    7087555283
    7087880288
    7087882277
    7093685673
    7123256147
    7132280619
    7132280931
    7132479304
    7134650525
    7136433243
    7136452111
    7136784419
    7136816246
    7136828624
    7136882583
    7136884398
    7136979224
    7137228218
    7137807654
    7138646014
    7138805702
    7139208787

                                                                     EE 000021
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    7139912139
    7142889149
    7143851688
    7144321651
    7144340727
    7145219300
    7145228133
    7145276603
    7145414491
    7145490362
    7146309339
    7147392831
    7147794909
    7148472474
    7148714591
    7149611140
    7152351015
    7152473638
    7153445453
    7156758852
    7157360678
    7166838655
    7166842294
    7168230371
    7168247731
    7168553417
    7168845953
    7172438865
    7172748934
    7172991241
    7172995609
    7173360979
    7174424859
    7176202308
    7176326582
    7177551641
    7178527278
    7178989347
    7182591083
    7182778860
    7183388914
    7184354719
    7185236041
    7186721378
    7187798810
    7188215874
    7188981756

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    7193903840
    7195907917
    7196301577
    7196330072
    7242284165
    7242822227
    7243461225
    7244574904
    7244890911
    7245321757
    7246588644
    7247720740
    7248327060
    7249380692
    7272990704
    7274465625
    7275353841
    7279341690
    7325259610
    7326366624
    7328408885
    7328708794
    7328881857
    7342613058
    7342840032
    7343266669
    7343269803
    7344266384
    7344297254
    7347476098
    7406538312
    7409673583
    7573637512
    7573973405
    7574592151
    7574874381
    7574908369
    7574972095
    7575434823
    7575474772
    7575490666
    7576260606
    7603247797
    7604800411
    7605109677
    7607445067
    7607447859

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    7607472626
    7632958765
    7633831437
    7635452894
    7635501776
    7652822717
    7702428450
    7702429880
    7702460539
    7703212520
    7704222593
    7704237385
    7704240806
    7704349966
    7704463330
    7704487395
    7704605162
    7704995015
    7706310664
    7706648944
    7707397033
    7709416819
    7709424257
    7709651314
    7709722741
    7709735187
    7709950927
    7723400560
    7725691771
    7733247258
    7737282499
    7737282799
    7738471828
    7753298981
    7753316109
    7753533300
    7753566635
    7753594649
    7804896525
    7812291639
    7813319505
    7814409903
    7817693356
    7818267165
    7818992482
    7819329715
    7819352342

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    7819356966
    7858252585
    7877827177
    8002292855
    8003288905
    8005869502
    8005869504
    8006362755
    8007642468
    8013520352
    8013553414
    8013942941
    8013951899
    8014664871
    8014845107
    8014847541
    8014854288
    8014865848
    8014878649
    8015620737
    8016270801
    8016850743
    8017731835
    8019635796
    8019722120
    8024768403
    8028720048
    8032521119
    8032526902
    8033963953
    8036489407
    8036491036
    8036990210
    8037394365
    8037963348
    8042304212
    8043215341
    8043555716
    8043583326
    8044218556
    8045411102
    8046486701
    8047455085
    8048613565
    8054345515
    8054873666
    8055322094

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    8055821580
    8056445178
    8059659623
    8059662956
    8059665544
    8062742165
    8063425399
    8067445690
    8067631685
    8067638245
    8082427790
    8085911237
    8085967044
    8088416989
    8088417492
    8088426022
    8088457555
    8088471433
    8102254602
    8106536138
    8106947100
    8107443798
    8122388980
    8122846572
    8123769729
    8124213689
    8124233323
    8124772690
    8124790100
    8128860573
    8132389527
    8136399344
    8138551649
    8139351917
    8139492153
    8139630008
    8142266067
    8145328875
    8148984001
    8149461590
    8153977357
    8154593337
    8156924148
    8157226635
    8158771954
    8162216688
    8162323843

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    8163584933
    8163587119
    8163589899
    8164213770
    8164520819
    8164548083
    8164780629
    8165250288
    8165258628
    8165611778
    8165873377
    8167411019
    8167562149
    8168421601
    8174888918
    8178319848
    8182233609
    8183747011
    8185007358
    8185566242
    8186786500
    8187000054
    8187652287
    8187781990
    8187843299
    8187862709
    8187865239
    8188416501
    8188461786
    8189568370
    8189802412
    8283245588
    8283695412
    8308961280
    8314235487
    8314244232
    8317572648
    8318998866
    8433980289
    8435383181
    8435468094
    8435545974
    8438841151
    8452943864
    8453409190
    8453682424
    8454730089

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    8455691558
    8472539411
    8472971544
    8473361456
    8473528231
    8474370933
    8474390699
    8474550385
    8475209540
    8475406797
    8477660432
    8478437622
    8478888940
    8479480221
    8479567209
    8479567925
    8504389544
    8504690387
    8505801225
    8506646769
    8507696720
    8508926428
    8568454387
    8568539455
    8582773072
    8582790362
    8585304820
    8585604051
    8585668920
    8585690954
    8592253484
    8592319851
    8592530121
    8592547473
    8595250993
    8598874958
    8602336295
    8602410051
    8602908384
    8604297176
    8604452313
    8605283897
    8605299869
    8606212415
    8636443325
    8642426821
    8642840800

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    8642957973
    8645839931
    8648775879
    8648958050
    8659385054
    8659868309
    8665660222
    8706980009
    8707730446
    8708927076
    8709726925
    9015254087
    9015661605
    9017255545
    9017747808
    9019429487
    9024651284
    9038331020
    9042824511
    9042911788
    9043551937
    9043848120
    9043872460
    9043891329
    9046939281
    9047839957
    9048296111
    9049813122
    9055428300
    9056647407
    9058508978
    9072583054
    9072621600
    9073443414
    9073570649
    9075617187
    9077892673
    9082131267
    9087079822
    9087820378
    9087828168
    9093810773
    9094219768
    9095931033
    9096269599
    9096285290
    9098545092

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    9098851933
    9099468069
    9099873838
    9099876678
    9104241355
    9104525301
    9107383115
    9107908608
    9107914480
    9108671881
    9122334355
    9126818549
    9129630044
    9132332702
    9133210706
    9133380838
    9134954378
    9136318372
    9136858555
    9138310264
    9142371171
    9148342995
    9155442658
    9155981192
    9157750222
    9157751929
    9157780671
    9158608603
    9163611829
    9164859385
    9164893918
    9165655622
    9166172659
    9167373234
    9168536847
    9169250247
    9182498676
    9183422423
    9184378420
    9184389993
    9185839169
    9185843421
    9186278808
    9186634171
    9186645017
    9186651721
    9188341065

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    9188348513
    9195440474
    9195800107
    9195961671
    9197825133
    9198516928
    9198560051
    9198780915
    9203361674
    9204320726
    9204352444
    9206874062
    9207343049
    9208669259
    9252941780
    9254321990
    9254434735
    9256876261
    9256890911
    9257983850
    9257988905
    9259340457
    9287535991
    9287768159
    9366336160
    9372221901
    9372339516
    9374292243
    9374362449
    9407234190
    9412550411
    9413309220
    9413557857
    9417211932
    9417539800
    9419219248
    9419532674
    9494619113
    9494980459
    9495886023
    9497561143
    9498589141
    9516544054
    9516830822
    9516976687
    9518089171
    9524350521

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    9528816656
    9528843750
    9528845030
    9528900058
    9528955636
    9543216638
    9543964221
    9544676768
    9545658229
    9545833265
    9546930034
    9547332133
    9547816315
    9547923560
    9549280958
    9549721567
    9549810745
    9549895738
    9564233914
    9567236258
    9702473637
    9703525004
    9703525536
    9704840574
    9704931239
    9706632012
    9722722634
    9723047300
    9723131341
    9724588789
    9726201926
    9727453682
    9728019920
    9728871286
    9729912902
    9732380010
    9733404041
    9733500112
    9733768788
    9733769056
    9734021447
    9735370404
    9735750196
    9735846679
    9735956149
    9736274252
    9737437904

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    9737723232
    9782513700
    9782839157
    9783675700
    9786633812
    9792330737
    9857250061
    9858792144
    9858938867
    9896314688
    9896848497
    9897939511
    9898351428




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